     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 1 of 33 Page ID #:201



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 8                           UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             January 2020 Grand Jury

11   UNITED STATES OF AMERICA,               CR   2:20-cr-00614-DMG
12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. § 371: Conspiracy; 18
                                             U.S.C. § 1349: Conspiracy to
14   JON CHANG HYOK,                         Commit Wire Fraud and Bank Fraud;
       aka “Quan Jiang,”                     18 U.S.C. §§ 982, 1030: Criminal
15     aka “Alex Jiang,”                     Forfeiture]
     KIM IL,
16     aka “Julien Kim,”
       aka “Tony Walker,” and
17   PARK JIN HYOK,
       aka “Jin Hyok Park,”
18     aka “Pak Jin Hek,”
       aka “Pak Kwang Jin,”
19
               Defendants.
20

21        The Grand Jury charges:
22                   INTRODUCTORY ALLEGATIONS AND DEFINITIONS
23        At times relevant to this Indictment:
24   A.   The Conspiracy and Defendants
25        1.    The Democratic People’s Republic of Korea (“DPRK”), also
26   known as (“aka”) North Korea, operated a military intelligence agency
27   called the Reconnaissance General Bureau (“RGB”).          The RGB was
28   headquartered in Pyongyang, DPRK, and comprised multiple units.
     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 2 of 33 Page ID #:202



 1          2.   Defendants JON CHANG HYOK (ࢷॷୂ), aka “Quan Jiang,” aka
 2   “Alex Jiang”; KIM IL (̡ࢊ), aka “Julien Kim,” aka “Tony Walker”; and
 3   PARK JIN HYOK (‫؃‬ऑୂ), aka “Jin Hyok Park,” aka “Pak Jin Hek,” aka
 4   “Pak Kwang Jin” (collectively, the “defendants”), whose photographs
 5   are attached as Exhibit A through Exhibit C, respectively, were
 6   members of units of the RGB who knowingly and intentionally conspired
 7   with each other, and with persons known and unknown to the Grand Jury
 8   (collectively, with the defendants, referred to as the “conspirators”
 9   and the “hackers”), to conduct criminal cyber intrusions.
10          3.   The defendants and other conspirators resided in the DPRK,
11   but, at times during the operation of the conspiracy, traveled to and
12   worked from other countries -- including the People’s Republic of
13   China and the Russian Federation -- while employed by units of the
14   RGB.   The conspirators included members of units of the RGB that have
15   come to be known within the cyber-security community as both Lazarus
16   Group and Advanced Persistent Threat 38 (“APT38”).
17          4.   The conspirators hacked into the computers of victims to
18   cause damage, steal data and money, and otherwise further the
19   strategic and financial interests of the DPRK government and its
20   leader, Kim Jong Un (the “DPRK regime”).        In some instances, the
21   hackers sought to cause damage through computer intrusions in
22   response to perceived reputational harm or to obtain information
23   furthering strategic interests of the DPRK regime.          In many
24   instances, the hackers intended the computer intrusions to steal
25   currency and virtual currency (also known as “cryptocurrency”), or to
26   obtain it through extortion, for the benefit of the DPRK regime --
27   and, at times, for their own private financial gain.          The hackers
28   attempted to steal or extort more than $1.3 billion from victims in

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 3 of 33 Page ID #:203



 1   cyber-enabled heists and Automated Teller Machine (“ATM”) cash-outs

 2   from banks, cyber-enabled heists from cryptocurrency companies, and

 3   cyber-enabled extortion schemes.

 4        5.    The hackers’ victims and intended victims included

 5   entertainment companies, financial institutions, cryptocurrency

 6   companies (including cryptocurrency exchanges, traders, and

 7   marketplaces), online casinos, cleared defense contractors, energy

 8   utilities, and individuals.      The hackers hacked and defrauded victims

 9   around the world -- including in Bangladesh, Malta, Mexico,

10   Indonesia, Pakistan, the Philippines, Poland, the Republic of Korea,

11   Slovenia, Taiwan, the United Kingdom, Vietnam, Central America, and

12   Africa -- as well as in the United States and, specifically, the

13   Central District of California.       The hackers targeted victims in

14   numerous other countries, as well, and used infrastructure and online

15   accounts from around the world in furtherance of the computer

16   intrusions, including infrastructure located in the Central District

17   of California.

18        6.    The computer intrusions often started with fraudulent,

19   spear-phishing messages -- emails and other electronic communications

20   designed to make intended victims download and execute malicious

21   software (“malware”) developed by the hackers.         At other times, the

22   spear-phishing messages would encourage intended victims to download

23   or invest in a cryptocurrency-related software program created by the

24   hackers, which covertly contained malicious code and/or would

25   subsequently be updated with malicious code after the program was

26   downloaded (a “malicious cryptocurrency application”).          To hone the

27   spear-phishing messages, the hackers would conduct internet research

28   regarding their intended victims and would send “test” spear-phishing

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 4 of 33 Page ID #:204



 1   messages to each other or themselves.        The hackers employed false and

 2   fraudulent personas when they sent spear-phishing messages to

 3   victims.

 4        7.    Once they gained access to a victim computer system, the

 5   hackers would conduct research within the system, attempt to move

 6   laterally within a computer network, and attempt to locate and

 7   exfiltrate sensitive and confidential information.          In both revenge-

 8   and financially-motivated computer attacks, the hackers would, at

 9   times, execute commands to destroy computer systems, deploy

10   ransomware, or otherwise render the computers of their victims

11   inoperable.

12        8.    The hackers took steps to avoid detection and attribution

13   of their computer intrusions to themselves, the RGB, and the DPRK.

14   However, the computer infrastructure and online accounts used in the

15   computer intrusions, and technical similarities in the malware

16   employed, connected these computer intrusions with the hackers,

17   showing that (a) the defendants and other hackers were conspiring

18   with one another, (b) they were members of the RGB, and (c) the

19   computer intrusions were part of a single hacking conspiracy.

20   B.   The Hackers’ Targets

21                             Entertainment Companies
22        9.    Sony Pictures Entertainment Inc. (“Sony Pictures”) was an
23   American entertainment company, headquartered in Culver City,
24   California, that produced and distributed filmed entertainment,
25   including the movie “The Interview,” which depicted the fictionalized
26   assassination of Kim Jong Un, whom it parodied.         Sony Pictures
27   maintained computer systems, including servers hosting employee data
28   and servers hosting intellectual property, in Los Angeles County,

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 5 of 33 Page ID #:205



 1   within the Central District of California, that operated in

 2   interstate and foreign commerce.

 3        10.    AMC Theatres was an American movie theater chain

 4   headquartered in Leawood, Kansas, which was set to show “The

 5   Interview” in its theaters prior to the cyber-attack on Sony

 6   Pictures.

 7        11.    Mammoth Screen was a United Kingdom television production

 8   company that was producing “Opposite Number,” a ten-part fictional

 9   series about a British nuclear scientist on a covert mission who was

10   taken prisoner in the DPRK.

11                Financial Institutions and Financial Regulators

12        12.    The “African Bank” was a bank headquartered in a country in
13   Africa.
14        13.    Bangladesh Bank, the central bank of Bangladesh, was
15   headquartered in Dhaka, Bangladesh.
16        14.    Banco Nacional De Comercio Exterior, which is also known as
17   “Bancomext,” was a Mexican state-owned bank headquartered in Mexico
18   City, Mexico.
19        15.    The “Maltese Bank” was a bank headquartered in Malta.
20        16.    BankIslami Pakistan Limited, which is also known as
21   “BankIslami,” was a bank headquartered in Karachi, Pakistan.
22        17.    The “New York Financial Services Company” was a financial
23   services company headquartered in New York, New York.
24        18.    The Polish Financial Supervision Authority was the
25   financial regulatory authority for Poland, and was based in Warsaw,
26   Poland.
27        19.    The “Philippine Bank” was a bank headquartered in Makati,
28   Philippines.

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 6 of 33 Page ID #:206



 1        20.    Far Eastern International Bank was a bank headquartered in

 2   Taipei, Taiwan.

 3        21.    The “Vietnamese Bank” was a bank headquartered in Hanoi,

 4   Vietnam.

 5                             Cryptocurrency Companies

 6        22.    The “Indonesian Cryptocurrency Company” was a
 7   cryptocurrency exchange based in Jakarta, Indonesia.
 8        23.    The “South Korean Cryptocurrency Company” was a
 9   cryptocurrency exchange based in the Republic of Korea.
10        24.    The “Slovenian Cryptocurrency Company” was a crypto-mining
11   company headquartered in Ljubljana, Slovenia.
12                             Online Casino Companies
13        25.    “Central American Online Casino 1” was an online casino
14   business headquartered in a Central American country.
15        26.    “Central American Online Casino 2” was an online casino
16   business headquartered in a Central American country.
17   C.   Definitions
18        27.    An Internet Protocol version 4 address, also known as an
19   “IPv4 address,” or more commonly an “IP address,” is a set of four
20   numbers or “octets,” each ranging from 0 to 255 and separated by a
21   period (“.”) that is used to route traffic on the internet.           A single
22   IP address can manage internet traffic for more than one computer or
23   device, such as in a workspace or when a router in one’s home routes
24   traffic to one’s desktop computer, as well as one’s tablet or
25   smartphone, while all using the same IP address to access the
26   internet.
27        28.    “Malware” is malicious computer software intended to cause
28   a victim computer to behave in a manner inconsistent with the

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 7 of 33 Page ID #:207



 1   intention of the owner or user of the victim computer, usually

 2   unbeknownst to that person.      The hackers developed and used numerous

 3   types of malware, including worms, ransomware, credential-stealers,

 4   key-loggers, screen-grabbers, and backdoors.

 5        29.   “Brambul” is a type of “worm” malware that spreads through

 6   self-replication by infecting new victim systems via brute force

 7   attacks on the victim’s Server Message Block (“SMB”) protocol.            SMB

 8   is a method that Microsoft systems use to share files on a network.

 9   A brute force attack is a computer network attack that attempts to

10   login to a potential victim computer, server, or account using a

11   predetermined list of possible username and password combinations,

12   which lists often contain thousands of common combinations of

13   usernames and passwords that include specific default settings used

14   on certain applications and devices.       Upon successfully gaining

15   access to a victim computer, Brambul conducts a survey of the victim

16   machine and collects information, including the victim’s IP address,

17   system name, operating system, username last logged in, and last

18   password used.    Brambul then sends that information via Simple Mail

19   Transfer Protocol to one or more of the email addresses (“Brambul

20   collector accounts”) that are hard-coded in Brambul.

21        30.   “Ransomware” is a type of malware that infects a computer

22   and encrypts some or all of the data or files on the computer, and

23   then demands that the victim pay a ransom in order to decrypt and

24   recover the files, or in order to prevent the hacker from

25   distributing or destroying the data.

26        31.   A “watering hole” is a type of computer intrusion technique

27   in which a hacker uses malware to compromise a website known to be

28   visited by intended victims.      The malware then infects the computers

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 8 of 33 Page ID #:208



 1   of intended victims (and sometimes unintended victims) who visit the

 2   website, giving the hacker access to the victims’ computers and

 3   networks.

 4        32.    “Command and control” IP addresses or domains -- sometimes

 5   referred to as “C2s” -- are computers with which malware communicates

 6   to send and receive data and commands.

 7        33.    A “spear-phishing” message is a tailored and personalized

 8   email or other electronic communication designed to appear legitimate

 9   in order to induce the targeted recipient(s) to take a certain action

10   -- such as clicking on a link, or downloading or opening a file --

11   that would cause a victim’s computer to be compromised by a hacker.

12   Spear-phishing messages often include information that the hacker

13   knows about the recipient(s) based on research or other sources of

14   information about the intended victim.

15        34.    “Cryptocurrency” or “virtual currency” is a digital asset

16   designed to work as a medium of exchange that uses cryptography to

17   secure financial transactions, control the creation of additional

18   units of the currency, and verify and transfer assets.

19   Cryptocurrency is typically accessed using secret or private

20   encryption “keys” which are commonly stored using a software

21   “wallet.”   Cryptocurrency “exchanges” are clearinghouses that allow

22   for the exchange between different types of cryptocurrencies, or

23   between cryptocurrency and fiat currency.        “Crypto-mining” is a means

24   of generating new units of cryptocurrency.

25        35.    An “initial coin offering” or “ICO” is the cryptocurrency

26   equivalent of a stock’s Initial Public Offering or “IPO” -- that is,

27   a cryptocurrency developer’s first offer to sell a stake in a

28   cryptocurrency to the public.

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 9 of 33 Page ID #:209



 1                                     COUNT ONE

 2                                 [18 U.S.C. § 371]

 3        36.     The Grand Jury re-alleges and incorporates paragraphs 1

 4   through 35 of the Introductory Allegations and Definitions of this

 5   Indictment.

 6   A.   OBJECTS OF THE CONSPIRACY

 7        37.     Beginning on a date unknown to the Grand Jury, but no later
 8   than September 28, 2009, and continuing through at least December 8,
 9   2020, in Los Angeles County, within the Central District of
10   California, and elsewhere, defendants JON CHANG HYOK, KIM IL, and
11   PARK JIN HYOK, together with others known and unknown to the Grand
12   Jury, knowingly conspired:
13                a.   to intentionally access computers without
14   authorization and obtain information from protected computers, in
15   violation of Title 18, United States Code, Section 1030(a)(2)(C),
16   (c)(2)(B)(i)-(iii);
17                b.   to knowingly and with intent to defraud access
18   protected computers without authorization, and by means of such
19   conduct further the intended fraud and obtain a thing of value, in
20   violation of Title 18, United States Code, Section 1030(a)(4),
21   (c)(3)(A);
22                c.   to knowingly cause the transmission of programs,
23   information, codes, and commands, and as a result of such conduct
24   intentionally cause damage without authorization to protected
25   computers, in violation of Title 18, United States Code,
26   Section 1030(a)(5)(A), (c)(4)(B)(i), (c)(4)(A)(i)(I),
27   (c)(4)(A)(i)(VI); and
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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 10 of 33 Page ID #:210



 1              d.    to transmit in interstate and foreign commerce, with

 2   the intent to extort money and other things of value, a communication

 3   containing (i) a threat to cause damage to a protected computer,

 4   (ii) a threat to impair the confidentiality of information obtained

 5   from a protected computer without authorization, and (iii) a demand

 6   and request for money and other things of value in relation to damage

 7   to a protected computer, where such damage was caused to facilitate

 8   the extortion, in violation of Title 18, United States Code,

 9   Section 1030(a)(7)(A)–(C), (c)(3)(A).

10   B.   MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

11        ACCOMPLISHED
12        38.   The objects of the conspiracy were to be accomplished, in
13   substance, as follows:
14                    Development and Dissemination of Malware
15              a.    The hackers would develop malware that could be
16   transmitted to potential victims in order to gain unauthorized access
17   to the computer(s) of the victims.          Such malware would include the
18   Brambul worm, ransomware, and other types of malware.
19              b.    At times, the hackers would conceal the malware within
20   seemingly legitimate word processing documents or software
21   applications, including programs related to cryptocurrency trading
22   (i.e., malicious cryptocurrency applications), which the hackers
23   would falsely and fraudulently, and through the omission of material
24   facts, market as being legitimate software applications.           Malicious
25   cryptocurrency applications would contain, or would through a
26   subsequent software update process be updated to contain, malicious
27   code that would provide the hackers with unauthorized access to the
28   computers of persons who downloaded the applications.

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 11 of 33 Page ID #:211



 1               c.   At other times, the hackers would conceal the malware

 2   within legitimate websites in order to infect victims visiting the

 3   websites (i.e., a watering hole).

 4               d.   Defendants JON CHANG HYOK, KIM IL, PARK JIN HYOK, and
 5   other conspirators, would register and use email and social media
 6   accounts in false and fraudulent names -- including the names of real
 7   persons -- to use in gaining unauthorized access to victim computers,
 8   including to contact potential victims, send spear-phishing messages,
 9   register other accounts used by the hackers, and/or serve as Brambul
10   collector accounts.
11               e.   Hackers would use the internet to research potential
12   victims with whom they would attempt to communicate.
13               f.   Defendants JON CHANG HYOK, KIM IL, and other
14   conspirators, would communicate with potential victims using false
15   and fraudulent names, sending spear-phishing messages or electronic
16   messages designed to establish a relationship with the intended
17   victim before sending a later spear-phishing message.           The hackers
18   would communicate with individuals in a variety of sectors, including
19   entertainment companies, financial institutions, hundreds of
20   cryptocurrency companies, online casinos, cleared defense
21   contractors, energy utilities, technology companies, and government
22   agencies.
23               g.   Defendants JON CHANG HYOK, KIM IL, and other
24   conspirators, would send misleading and fraudulent communications to
25   potential victims containing malware or directing the potential
26   victims to download malware, including malicious cryptocurrency
27   applications, ransomware, and other malware.
28

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 12 of 33 Page ID #:212



 1              h.    At times, to carry out computer intrusions or

 2   attempted intrusions, hackers would use or access computer

 3   infrastructure that they had compromised through the Brambul worm or

 4   a watering hole.

 5            Destructive Cyberattacks, and Attempted Cyberattacks,

 6                            on Entertainment Companies
 7              i.    After malware was installed on the computer(s) of an
 8   intended victim entertainment company, the hackers would use the
 9   malware to access the computer(s) without authorization and install
10   other malware.
11              j.    The hackers would then access the computer(s) of the
12   victim entertainment company without authorization and attempt to
13   access other computer systems connected to the computer(s) to steal
14   confidential credentials, files, data, unreleased movies, and other
15   information that could be damaging or embarrassing to the
16   entertainment company.
17              k.    The hackers would then install destructive malware on
18   the victim entertainment company’s computers, which malware could be
19   used to destroy or impair the computers and render them inoperable,
20   and to conceal forensic evidence of the hackers’ unauthorized access.
21              l.    After successfully installing destructive malware on
22   computers of the victim entertainment company, the hackers would, at
23   a later date, make threatening communications to the victim
24   entertainment company using false and fraudulent personas, publicly
25   disseminate the victim entertainment company’s confidential internal
26   information, and activate destructive capabilities of the malware the
27   hackers previously installed in order to destroy or impair the victim
28   entertainment company’s computers and render them inoperable.

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 13 of 33 Page ID #:213



 1                             Bank Cyber-Enabled Heists

 2              m.    After malware was installed on the computer(s) of an

 3   intended victim bank, the hackers would use the malware to access the

 4   computer(s) without authorization and install other malware.

 5              n.    The hackers would access the computer(s) of the victim

 6   bank without authorization and attempt to move through the bank’s

 7   network in order to access one or more computers that the victim bank

 8   used to send or receive messages through the Society for Worldwide

 9   Interbank Financial Telecommunication (“SWIFT”) communication system.

10              o.    The hackers would develop and deploy malware

11   customized to the computer network of the victim bank, in order to

12   send fraudulent SWIFT messages from the victim bank’s computer

13   system, authorizing fraudulent wire transfers to bank accounts used

14   and controlled by the hackers, including accounts at United States

15   federally insured financial institutions.

16              p.    The hackers also would develop and deploy destructive

17   malware to conceal their point of access to the victim bank’s

18   computer network, their path through the victim bank’s computer

19   network, and the fraudulent wire transfers.

20              q.    At times, the hackers would install, on the

21   computer(s), malware designed to destroy, impair, or render

22   inoperable the victim bank’s computer network or computers within the

23   network, and to conceal forensic evidence of the hackers’

24   unauthorized access to the computer(s).

25                             Cyber-Enabled Extortions

26              r.    After malware was installed on the computer(s) of an
27   intended extortion victim, the hackers would use the malware to
28

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 14 of 33 Page ID #:214



 1   access the computer(s) without authorization and install other

 2   malware.

 3              s.    The hackers would then access the computer(s) of the

 4   extortion victim without authorization and attempt to access other

 5   computer systems connected to the computer(s) to steal confidential

 6   credentials, files, data, and other information that could be

 7   damaging or embarrassing to the extortion victim.

 8              t.    At times, the hackers would install ransomware on the

 9   computer(s) of the extortion victim in order to render the

10   computer(s) inaccessible and inoperable.

11              u.    The hackers would then communicate with the extortion

12   victim, demanding a payment in a cryptocurrency, such as Bitcoin, in

13   exchange for not publicly releasing the extortion victim’s files that

14   had been stolen or unencrypting any computers infected by ransomware.

15              v.    The hackers would, at times, offer to tell the

16   extortion victim how the hackers had accessed the extortion victim’s

17   computer(s) if additional ransom payments were made.

18              w.    If the extortion victim did not pay the hackers’

19   ransom demands, the hackers would threaten to -- and would in fact --

20   publicly disseminate confidential information stolen from the

21   computer(s) of the extortion victim, destroy the information and not

22   return a copy, or leave the computer(s) of the victim encrypted with

23   ransomware.

24                               Cryptocurrency Heists

25              x.    After malware, such as a malicious cryptocurrency
26   application, was installed on the computer(s) of an intended victim
27   cryptocurrency company, the hackers would use the malware to access
28   the computer(s) without authorization and install other malware.

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 15 of 33 Page ID #:215



 1              y.    The hackers would access the computer(s) of the victim

 2   cryptocurrency company without authorization and attempt to move

 3   through the victim cryptocurrency company’s computer network in order

 4   to access a computer that would provide access to the victim

 5   cryptocurrency company’s cryptocurrency wallet(s) and private keys to

 6   the wallet.

 7              z.    Once they had access to the wallet(s) and private keys

 8   of the victim cryptocurrency company, the hackers would fraudulently

 9   and without authorization transfer cryptocurrency from those wallets

10   to wallets used and controlled by the hackers.

11                                    ATM Cash-Outs

12              aa.   After malware was installed on the computer(s) of an
13   intended victim bank, the hackers would use the malware to access the
14   computer(s) without authorization and install other malware.
15              bb.   The hackers would access the computer(s) of the victim
16   bank without authorization and attempt to move through the victim
17   bank’s computer network in order to access one or more computers that
18   the victim bank used to manage ATM transactions.
19              cc.   The hackers would develop and deploy malware
20   customized to the computer network of the victim bank, in order to
21   intercept ATM transaction data and cause fraudulent ATM withdrawal
22   requests to be approved, which would cause a requesting ATM to
23   dispense cash to money-launderer coconspirators.
24              dd.   The hackers also developed and deployed malware to
25   conceal their point of access to the victim bank’s computer network,
26   their path through the victim bank’s computer network, and the
27   fraudulent ATM withdrawal requests.
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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 16 of 33 Page ID #:216



 1   C.   OVERT ACTS

 2        39.    In furtherance of the conspiracy, and to accomplish its

 3   objects, defendants JON CHANG HYOK, KIM IL, and PARK JIN HYOK,

 4   together with others known and unknown to the Grand Jury, on or about

 5   the dates set forth below, committed and caused to be committed

 6   various overt acts, in the Central District of California and

 7   elsewhere, including, but not limited to, the following:

 8              Destructive Cyberattacks, and Attempted Cyberattacks,

 9                            on Entertainment Companies
10        Overt Act No. 1:        Beginning on November 24, 2014, after
11   sending threatening communications to Sony Pictures employees, the
12   hackers initiated a destructive cyber-attack of Sony Pictures
13   computers, publicly disseminated Sony Pictures’ confidential data and
14   communications stolen from its computers, and made further threats
15   against the company and its employees.
16        Overt Act No. 2:        On December 2 and 3, 2014, the hackers sent
17   spear-phishing messages to AMC Theatres employees from multiple email
18   accounts.
19        Overt Act No. 3:        At an unknown date in 2015, the hackers
20   gained unauthorized access to the computers of Mammoth Screen.
21               Cyber-Enabled Heists from, and Intrusions of, Banks
22        Overt Act No. 4:        Beginning in or around November 2015, the
23   hackers gained unauthorized access to the Philippine Bank’s computer
24   network, but did not succeed in making fraudulent wire transfers
25   before the unauthorized access was detected and mitigated.
26        Overt Act No. 5:        On December 9, 2015, having gained
27   unauthorized access to the Vietnamese Bank’s computer network at an
28   earlier date, the hackers conducted false and fraudulent wire

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 17 of 33 Page ID #:217



 1   transfers totaling approximately €2 million to bank accounts in

 2   Slovenia and Bulgaria, and attempted to conduct fraudulent wire

 3   transfers of approximately $3.4 million to Russia, A$1 million to

 4   Australia, and g90 million to Japan.
 5           Overt Act No. 6:     On February 4, 2016, having gained

 6   unauthorized access to Bangladesh Bank’s computer network at an
 7   earlier date, the hackers attempted to conduct false and fraudulent
 8   wire transfers totaling approximately $951 million, and conducted
 9   false and fraudulent wire transfers totaling approximately
10   $81 million to bank accounts in the Philippines and $20 million to a
11   bank account in Sri Lanka, which moneys all belonged to Bangladesh
12   Bank and were held in accounts at the Federal Reserve Bank of New
13   York.
14           Overt Act No. 7:     On July 20, 2016, having gained unauthorized
15   access to the African Bank’s computer network at an earlier date, the
16   hackers conducted false and fraudulent wire transfers totaling
17   approximately $104.1 million to bank accounts in Taiwan, Thailand,
18   and Cambodia.
19           Overt Act No. 8:     Beginning in or around October 2016, the
20   hackers gained unauthorized access to the computer network of the
21   Polish Financial Supervision Authority and made its website into a
22   watering hole.
23           Overt Act No. 9:     On October 3, 2017, having gained
24   unauthorized access to Far Eastern International Bank’s computer
25   network at an earlier date, the hackers conducted false and
26   fraudulent wire transfers totaling approximately $60.1 million to
27   bank accounts in Sri Lanka, Cambodia, and the United States.
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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 18 of 33 Page ID #:218



 1        Overt Act No. 10:       On January 9, 2018, having gained

 2   unauthorized access to Bancomext’s computer network at an earlier

 3   date, the hackers conducted false and fraudulent wire transfers

 4   totaling approximately $110 million to bank accounts in the Republic

 5   of Korea, and then deployed malware on more than 400 of Bancomext’s

 6   computers.

 7        Overt Act No. 11:       In January and February 2019, defendant KIM

 8   IL or another hacker communicated with unindicted coconspirator
 9   Ghaleb Alaumary regarding bank accounts that could receive false and
10   fraudulent wire transfers from the Maltese Bank.
11        Overt Act No. 12:       On February 12, 2019, having gained
12   unauthorized access to the Maltese Bank’s computer network at an
13   earlier date, the hackers conducted false and fraudulent wire
14   transfers totaling approximately $6.4 million and €7.1 million to
15   bank accounts in Hong Kong, the United Kingdom, the United States,
16   and the Czech Republic.
17                    Cyber-Enabled Extortions and Ransomware
18        Overt Act No. 13:       On or before May 12, 2017, the hackers
19   authored the ransomware used in a global, destructive cyber-attack
20   known publicly as WannaCry Version 2.
21        Overt Act No. 14:       On June 29, 2017, having gained unauthorized
22   access to a computer system at an earlier date and stolen
23   confidential customer information of the South Korean Cryptocurrency
24   Company, the hackers publicly released that information after the
25   South Korean Cryptocurrency Company refused to pay a ransom of
26   approximately $16 million in cryptocurrency.
27        Overt Act No. 15:       On August 24, 2017, having gained
28   unauthorized access to a computer system of a victim company at an

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 19 of 33 Page ID #:219



 1   earlier date, the hackers deployed ransomware on the computer system

 2   and then extorted payments totaling approximately $100,000 in

 3   cryptocurrency from the victim.

 4        Overt Act No. 16:       On October 13, 2017, having gained

 5   unauthorized access to the computer network of Central American
 6   Online Casino 1 at an earlier date and stolen its confidential
 7   customer information, the hackers extorted payments totaling
 8   approximately $2.3 million in cryptocurrency from Central American
 9   Online Casino 1.
10        Overt Act No. 17:       On November 2, 2017, having gained
11   unauthorized access to the computer network of Central American
12   Online Casino 2 at an earlier date and stolen its confidential
13   customer information, the hackers extorted payments totaling
14   approximately $361,500 in cryptocurrency from Central American Online
15   Casino 2.
16                      Malicious Cryptocurrency Applications
17        Overt Act No. 18:       Beginning in March 2018, defendant JON CHANG
18   HYOK and other hackers sent electronic communications, including
19   spear-phishing messages, to numerous employees of cryptocurrency
20   exchanges.
21        Overt Act No. 19:       Beginning on or before May 15, 2018,
22   defendant JON CHANG HYOK and other hackers developed Celas Trade Pro,
23   which was purportedly cryptocurrency trading software, but which was,
24   in reality, a malicious cryptocurrency application.
25        Overt Act No. 20:       Beginning on June 18, 2018, defendant JON
26   CHANG HYOK and other hackers sent electronic communications
27   advertising Celas Trade Pro to numerous employees of cryptocurrency
28   exchanges.

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 20 of 33 Page ID #:220



 1        Overt Act No. 21:       Beginning on or before October 11, 2018,

 2   defendant JON CHANG HYOK and other hackers developed WorldBit-Bot,

 3   which was purportedly cryptocurrency trading software, but which was,

 4   in reality, a malicious cryptocurrency application.

 5        Overt Act No. 22:       Beginning on November 14, 2018, defendant

 6   JON CHANG HYOK and other hackers sent electronic communications
 7   advertising WorldBit-Bot to employees of cryptocurrency exchanges.
 8        Overt Act No. 23:       Beginning on or before March 6, 2019, the
 9   hackers developed iCryptoFx, which was purportedly a “Cryptocurrency
10   Algo-Trading Tool,” but which was, in reality, a malicious
11   cryptocurrency application.
12        Overt Act No. 24:       Beginning on April 27, 2019, defendant KIM
13   IL or another hacker created online accounts using false and
14   fraudulent personas for purported employees of iCryptoFx, which were
15   designed to make iCryptoFx appear to be a legitimate cryptocurrency
16   program.
17        Overt Act No. 25:       Beginning on or before June 4, 2019,
18   defendant JON CHANG HYOK and other hackers developed Union Crypto
19   Trader, which was purportedly a cryptocurrency trading software, but
20   which was, in reality, a malicious cryptocurrency application.
21        Overt Act No. 26:       On dates in April 2019 through July 2019,
22   defendant JON CHANG HYOK and other hackers created online accounts
23   using false and fraudulent personas for purported employees of Union
24   Crypto Trader, which were designed to make Union Crypto Trader appear
25   to be legitimate.
26        Overt Act No. 27:       Beginning on or before February 21, 2020,
27   defendant JON CHANG HYOK and other hackers developed Kupay Wallet,
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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 21 of 33 Page ID #:221



 1   which was purportedly cryptocurrency wallet software, but which was,

 2   in reality, a malicious cryptocurrency application.

 3        Overt Act No. 28:       Beginning on or before February 28, 2020,

 4   defendant JON CHANG HYOK and other hackers developed CoinGo Trade,
 5   which was purportedly cryptocurrency trading software, but which was,
 6   in reality, a malicious cryptocurrency application.
 7        Overt Act No. 29:       In early March 2020, defendant JON CHANG
 8   HYOK or another hacker sent electronic communications advertising and
 9   encouraging the download of Kupay Wallet.
10        Overt Act No. 30:       In late March 2020, defendant JON CHANG HYOK
11   or another hacker sent electronic communications advertising and
12   encouraging the download of CoinGo Trade.
13        Overt Act No. 31:       Beginning on or before March 30, 2020,
14   defendant JON CHANG HYOK and other hackers developed Dorusio, which
15   was purportedly cryptocurrency wallet software, but which was, in
16   reality, a malicious cryptocurrency application.
17        Overt Act No. 32:       On March 30, 2020, defendant JON CHANG HYOK
18   or another hacker sent electronic communications advertising and
19   encouraging the download of Dorusio.
20        Overt Act No. 33:       Beginning on or before May 6, 2020,
21   defendant JON CHANG HYOK and other hackers developed CryptoNeuro
22   Trader, which was purportedly cryptocurrency trading software, but
23   which was, in reality, a malicious cryptocurrency application.
24        Overt Act No. 34:       In late July 2020, defendant JON CHANG HYOK
25   or another hacker sent electronic communications advertising and
26   encouraging the download of CryptoNeuro Trader.
27        Overt Act No. 35:       Beginning on or before September 1, 2020, a
28   conspirator or conspirators developed Ants2Whale, which was

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 22 of 33 Page ID #:222



 1   purportedly cryptocurrency trading software, but which was, in

 2   reality, a malicious cryptocurrency application.

 3                               Cryptocurrency Heists

 4        Overt Act No. 36:       On December 4, 2017, a conspirator sent a
 5   spear-phishing communication to an employee of the Slovenian
 6   Cryptocurrency Company, which included a hyperlink that redirected
 7   the employee to download a file containing malware.
 8        Overt Act No. 37:       On December 15, 2017, having gained
 9   unauthorized access to the computer network of the Slovenian
10   Cryptocurrency Company at an earlier date, the hackers fraudulently
11   transferred cryptocurrency, valued at approximately $75 million, from
12   the wallets of the Slovenian Cryptocurrency Company.
13        Overt Act No. 38:       In March 2018 and April 2018, a conspirator
14   sent spear-phishing communications to employees of the Indonesian
15   Cryptocurrency Company.
16        Overt Act No. 39:       On September 27, 2018, having gained
17   unauthorized access to the computer network of the Indonesian
18   Cryptocurrency Company at an earlier date, the hackers fraudulently
19   transferred cryptocurrency, valued at approximately $24.9 million,
20   from the wallets of the Indonesian Cryptocurrency Company.
21        Overt Act No. 40:       On August 7, 2020, having gained
22   unauthorized access to the computer network of the New York Financial
23   Services Company at an earlier date by using the CryptoNeuro Trader
24   malicious cryptocurrency application, and using that unauthorized
25   access to steal data that they would later use to attempt to extort
26   the New York Financial Services Company, the hackers fraudulently
27   transferred cryptocurrency, valued at approximately $11.8 million,
28   from the wallets of the New York Financial Services Company.

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 23 of 33 Page ID #:223



 1                                    ATM Cash-Outs

 2        Overt Act No. 41:       On October 27, 2018, having gained

 3   unauthorized access to the computer network of BankIslami, the

 4   hackers caused fraudulent ATM withdrawal requests to be approved,

 5   which caused requesting ATMs to dispense approximately $6.1 million

 6   to money-launderer coconspirators, including coconspirators acting at

 7   the direction of unindicted coconspirator Ghaleb Alaumary.

 8                       Additional Spear-Phishing Campaigns

 9        Overt Act No. 42:       Beginning in March 2016 and continuing
10   through August 2016, conspirators sent numerous spear-phishing
11   communications to employees of United States cleared defense
12   contractors, energy companies, and aerospace companies.
13        Overt Act No. 43:       Beginning in February 2017 and continuing
14   through May 2017, conspirators sent numerous spear-phishing
15   communications to United States cleared defense contractors.
16        Overt Act No. 44:       In November 2019, conspirators sent spear-
17   phishing communications to the employees of the United States
18   Department of State.
19        Overt Act No. 45:       In January and February 2020, conspirators
20   sent numerous spear-phishing communications to employees of the
21   United States Department of State, the United States Department of
22   Defense, and multiple United States technology companies.
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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 24 of 33 Page ID #:224



 1                                      COUNT TWO

 2                                 [18 U.S.C. § 1349]

 3        40.   The Grand Jury re-alleges and incorporates paragraphs 1

 4   through 35 of the Introductory Allegations and Definitions of this

 5   Indictment.

 6   A.   OBJECTS OF THE CONSPIRACY

 7        41.   Beginning on a date unknown to the Grand Jury, but no later
 8   than September 28, 2009, and continuing through at least December 8,
 9   2020, in Los Angeles County, within the Central District of
10   California, and elsewhere, defendants JON CHANG HYOK, KIM IL, and
11   PARK JIN HYOK, together with others known and unknown to the Grand
12   Jury, knowingly conspired to commit the following offenses:
13              a.    wire fraud, in violation of Title 18, United States
14   Code, Section 1343; and
15              b.    bank fraud, in violation of Title 18, United States
16   Code, Section 1344(2).
17   B.   THE MANNER AND MEANS OF THE CONSPIRACY
18        42.   The objects of the conspiracy were to be accomplished, in
19   substance, as follows:
20              a.    The Grand Jury re-alleges and incorporates paragraphs
21   38.a through 38.dd of Section B of Count One of this Indictment.
22                                    Marine Chain
23              b.    Defendant KIM IL and other conspirators would develop
24   a plan to create a digital token called “Marine Chain Token,” which
25   would allow investors to purchase fractional ownership interests in
26   marine shipping vessels, such as cargo ships, supported by a
27   blockchain.
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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 25 of 33 Page ID #:225



 1              c.     Defendant KIM IL would contact individuals in

 2   Singapore, whom defendant KIM IL knew from when he previously lived

 3   in Singapore, regarding potential involvement in creating Marine

 4   Chain.

 5              d.     Defendant KIM IL and other conspirators would, at

 6   other times, use false and fraudulent names when contacting

 7   individuals who they hoped would be involved in creating Marine

 8   Chain.   In those instances, defendant KIM IL and other conspirators

 9   would not disclose to these individuals that the conspirators were

10   DPRK citizens or that they were communicating using false and

11   fraudulent names.

12              e.     Defendant KIM IL and other conspirators would raise

13   funds for the Marine Chain platform through an ICO, which would, in

14   part, entail communicating with potential investors using false and

15   fraudulent names in order to convince them to invest in the Marine

16   Chain platform.     Defendant KIM IL and other conspirators would not

17   disclose to these individuals that the conspirators were DPRK

18   citizens or that they were communicating using false and fraudulent

19   names.   They also would not disclose to investors that a purpose of

20   the Marine Chain Token was to evade United States sanctions on North

21   Korea.

22              f.     Defendant KIM IL and other conspirators would attempt

23   to receive approval from the Securities and Futures Commission of

24   Hong Kong to trade the Marine Chain Token as a security.

25              g.     Defendant KIM IL and other conspirators would tokenize

26   individual vessels on the Marine Chain platform, allowing investors

27   to purchase ownership interests in marine shipping vessels.

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 26 of 33 Page ID #:226



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 2   C.   OVERT ACTS

 3        43.   In furtherance of the conspiracy, and to accomplish its

 4   objects, defendants JON CHANG HYOK, KIM IL, and PARK JIN HYOK,

 5   together with others known and unknown to the Grand Jury, on or about

 6   the dates set forth below, committed and caused to be committed

 7   various overt acts, in the Central District of California and

 8   elsewhere, including, but not limited to, the following:

 9        Overt Act Nos. 1–45:      The Grand Jury re-alleges and incorporates

10   Overt Act Number 1 through Overt Act Number 45 of Section C of Count
11   One of this Indictment here.
12        Overt Act No. 46:       Beginning no later than October 31, 2017,
13   defendant KIM IL and other conspirators communicated with each other
14   regarding development of Marine Chain.
15        Overt Act No. 47:       Beginning on November 28, 2017, while in
16   Russia, defendant KIM IL communicated with individuals in Singapore
17   about establishing Marine Chain.
18        Overt Act No. 48:       On May 1, 2018, defendant KIM IL sent a
19   final business plan for Marine Chain to a conspirator.
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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 27 of 33 Page ID #:227



 1                             FORFEITURE ALLEGATION ONE

 2                           [18 U.S.C. §§ 982 and 1030]

 3        1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States will seek

 5   forfeiture as part of any sentence, pursuant to Title 18, United

 6   States Code, Sections 982(a)(2) and 1030(i), in the event of any

 7   defendant’s conviction of the offense set forth in Count One of this

 8   Indictment.

 9        2.    Any defendant so convicted shall forfeit to the United

10   States of America the following:

11              a.    All right, title, and interest in any and all

12   property, real or personal, constituting, or derived from, any

13   proceeds obtained, directly or indirectly, as a result of the

14   offense;

15              b.    Any property used or intended to be used to commit the

16   offense; and

17              c.    To the extent such property is not available for

18   forfeiture, a sum of money equal to the total value of the property

19   described in subparagraphs (a) and (b).

20        3.    Pursuant to Title 21, United States Code, Section 853(p),

21   as incorporated by Title 18, United States Code, Sections 982(b)(1)

22   and 1030(i), any defendant so convicted shall forfeit substitute

23   property, up to the total value of the property described in the

24   preceding paragraph if, as the result of any act or omission of said

25   defendant, the property described in the preceding paragraph, or any

26   portion thereof: (a) cannot be located upon the exercise of due

27   diligence; (b) has been transferred, sold to or deposited with a

28   third party; (c) has been placed beyond the jurisdiction of the

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 28 of 33 Page ID #:228



 1   court; (d) has been substantially diminished in value; or (e) has

 2   been commingled with other property that cannot be divided without

 3   difficulty.

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 29 of 33 Page ID #:229



 1                             FORFEITURE ALLEGATION TWO

 2                                 [18 U.S.C. § 982]

 3        1.       Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 982(a)(2), in the event of any

 7   defendant’s conviction of the offense set forth in Count Two of this

 8   Indictment.

 9        2.    Any defendant so convicted shall forfeit to the United

10   States of America the following:

11              a.     All right, title and interest in any and all property,

12   real or personal, constituting, or derived from, any proceeds

13   obtained, directly or indirectly, as a result of the offense; and

14              b.     To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17        3.    Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 18, United States Code, Section 982(b), any

19   defendant so convicted shall forfeit substitute property, up to the

20   total value of the property described in the preceding paragraph if,

21   as the result of any act or omission of said defendant, the property

22   described in the preceding paragraph, or any portion thereof: (a)

23   cannot be located upon the exercise of due diligence; (b) has been

24   transferred, sold to or deposited with a third party; (c) has been

25   placed beyond the jurisdiction of the court; (d) has been

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 30 of 33 Page ID #:230



 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3
                                                 A TRUE BILL
 4

 5
                                                         /S/
 6                                               Foreperson
 7

 8   TRACY L. WILKISON
     Attorney for the United States,
 9   Acting Under Authority Conferred
     by 28 U.S.C. § 515
10

11

12   CHRISTOPHER D. GRIGG
     Assistant United States Attorney
13   Chief, National Security Division

14   CAMERON L. SCHROEDER
     Assistant United States Attorney
15   Chief, Cyber and Intellectual
       Property Crimes Section
16
     ANIL J. ANTONY
17   Assistant United States Attorney
     Deputy Chief, Cyber and
18     Intellectual Property Crimes
       Section
19
     KHALDOUN SHOBAKI
20   Assistant United States Attorney
     Cyber and Intellectual Property
21      Crimes Section

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 31 of 33 Page ID #:231



 1                                      EXHIBIT A
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 3                                  JON CHANG HYOK,

 4                                 aka “Quan Jiang,”

 5                                  aka “Alex Jiang”

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     Case 2:20-cr-00614-MCS Document 8 Filed 12/08/20 Page 32 of 33 Page ID #:232



 1                                      EXHIBIT B
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 3                                       KIM IL,

 4                                 aka “Julien Kim,”

 5                                 aka “Tony Walker”

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 1                                      EXHIBIT C
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 3                                   PARK JIN HYOK,

 4                               aka “Jin Hyok Park,”

 5                                 aka “Pak Jin Hek,”

 6                                aka “Pak Kwang Jin”

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